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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

BOBBY J. GOLDEN PLAINTIFF
VERSUS CASE NO. 1:06cv1006LG-JMR |

HARRISON COUNTY, MISSISSIPPI;
SHERIFF GEORGE PAYNE, OFFICIALLY
AND IN HIS INDIVIDUAL CAPACITY;

LEE OATIS JACKSON, OFFICIALLY AND

IN HIS INDIVIDUAL CAPACITY; MAJOR
DIANNE GASTON-RILEY, OFFICIALLY

AND IN HER INDIVIDUAL CAPACITY;
CAPTAIN RICK GASTON, BOOKING
SUPERVISOR, OFFICIALLY AND IN HIS
INDIVIDUAL CAPACITY; CAPTAIN

PHILLIP TAYLOR, OFFICIALLY AND IN

HIS INDIVIDUAL CAPACITY; JOHN DOES
1-5, OFFICIALLY AND IN THEIR INDIVIDUAL
CAPACITY DEFENDANTS

RECORDS AFFIDAVIT

STATE OF MISSISSIPPI
COUNTY OF HARRISON

Personally appeared before me, the undersigned authority in and for the aforesaid —
jurisdiction, the Records Custodian for the Harrison County Sheriffs Office, who, upon —
his/her oath, stated that (1) he/she has first-hand knowledge of the maintenance and/or
storage of the attached records; and (2) the attached records are true and correct copies of
the excerpts of the Training Records that were kept in the regular course of the
employment of Lee Otis Jackson; and (3) the records were generated in the regular course

of the employment of Lee Otis Jackson and pursuant to the regular activities of the

EXHIBIT

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Harrison County Sheriffs Office, and made at or near the time of the matters set forth by,
or from information transmitted by, a person with knowledge of those matters.

| certify the above declaration is true and correct under penalty of perjury.

fob Uy lgas

AFFIANT/PAULA HENTGES
HARRISON COUNTY, MISSISSIPPI

Sworn to and subscribed before me, this the 7#4_ day of Guy 2008.

Holuns b Bett sn

Notary Public

(SEAL)

My commission expires:

Mosissiret STATEWIDE NOTARY PUBLIC

COMMISSION EXP)
BONDED THRU STEGAL OY See
Case 1:06-cv-01006-LG-JMR Document1i10-11 Filed 07/07/08 Page 3 of 43
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON December 11,2004,1 Lee FHAK SON RECEIVED a I5-MINUTE
TRAINING ON SOCIAL SERVICE AND SUBSTANCE ABUSE EDUCATION PROGRAM 0645-1500
HOUR SHIFTS BRIEFING.

A. den o28

DEPUTY SIGNATURE AND BADGE NUMBER

SGT LEGE #155
SHIFT SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

Training Records
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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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wo4

ON December 12, 2004, I Ja a RECEIVED a 15-MINUTE
_ TRAINING ON ESCORTED LEAVES 0645-1500 HOUR SHIFTS BRIEFING,

3 ‘ 225
DEPUTY SIGNATURE AND BADGE NUMBER

SGT REESE #159
SHIFT SUPERVISOR

. SGT. LEONARD #156
SHIFT SUPERVISOR

Training Records
0002
Case 1:06-cv-01006-LG-JMR Document 110-11 Filed 07/07/08 Page 5 of 43

SHIFT TRAINING

- POLICY AND PROCEDURE DIRECTIVE

ON Decemberl0, 2004, I L een WJAcKs ol RECEIVED a 15-MINUTE
TRAINING ON RECREATION 0645-1500 HOUR SHIFTS BRIEFING.

_£ lhe _ 22

DEPUTY SIGNATURE AND BADGE NUMBER

SGT LEGE #155 w
SHIFT SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

Training Records
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Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 6 of 43

_ SHIFT TRAINING
Be POLICY AND PROCEDURE DIREGTIVE ... .
ON December 7, 2004, 1 Lee - iesod . __. RECEIVED a 15-MINUTE
TRAINING ON CODE OF ETHICS 0645+ 1500 HOUR SHIFTS BRIEFING...

t. be 7 ae GAS
ae DEPUTY SIGNATURE AND-BADGE NUMBER

sass SGT LEGE #155 one oe ee
————- SHI FP SUPERVISOR" nnn one - oo

SGT REESE #159
SHIET SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

Training Records

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Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 7 of 43

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

__ON December 6, 2004, 1__ Lez. Sarton ‘4. RECEIVED a 15-MINUTE
- TRAINING ON FISCAL RESPONSIBILITY MANAGEMENT AND BUDGETING CONTROL 0645-

~ 1500 HOUR SHIFTS BRIEFING.

225

SGT LEGE 4155

DEPUTY SIGNATURE AND BADGE NUMBER >

———SHIFP-SU PERVISOR
SGT REESE #159
SHIFT SUPERVISOR

_ Training Records

0005
Case 1:06-cv-01006-LG-JMR Document 110-11 Filed 07/07/08 Page 8 of 43

SHIFT TRAINING

- POLICY AND PROCEDURE DIRECTIVE

_-ON December 5, 2004, | Lee JACKSON “| RECEIVED a 15-MINUTE
- ’ TRAFNING ON MONTHLY STATISTICAL REPORTING 0645-1500 HOUR SHIFTS BRIEFING.

. ty eR 225
DEPUTY SIGNATURE AND BADGE NUMBER

" SGT LEGE #155
SHIFT SUPERVISOR

SGT REESE #159
SHIFT SUPERVISOR

Training Records
0006
ee we

Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 9 of 43

SHIFT TRAINING |

~ POLICY AND PROCEDURE DIRECTIVE

-* ON December 4,2004,1 Lee Jaexeoal RECEIVED a 15-MINUTE

TRAINING ON DETENTION CENTER INSPECTIONS AND INVESTIGATIONS 0645-1500 HOUR
SHIFTS BRIEFING. °

£6. hhen ys

. F*DEPUTY SIGNATURE AND BADGE NUMBER

SGT LEGE #155
SHIFT. SUPERVISOR

SGT LEGE #155
SHIFT SUPERVISOR

Training Records
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Case 1:06-cv-01006-LG-JMR Document 110-11 Filed.07/07/08 Page 10 of 43

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON Decémber32,2004,1_ Lee  Jaeyson RECEIVED a 15-MINUTE
TRAINING ON LEGAL ASSISTANCE 0645-1500 HOUR SHIFTS BRIEFING.

he 0. Seo 228

“DEPUTY SIGNATURE AND BADGE NUMBER

"SGT LEGE #155 |
SHIFT SUPERVISOR

SGT LEGE #155
SHIFT SUPERVISOR

Training Records
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Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 11 of 43

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

"ON Novemiber 30, 2004, ! b by, oA RECEIVED a 15-MINUTE
TRAINING ON FEMALE INMATES 0645-1500 HOUR SHIFTS BRIEFING.

J. Gelkut __225

VDEPUTY SIGNATURE AND BADGE NUMBER

SGT LEONARD #156
SHIFT SUPERVISOR

SGT REESE #159
SHIFT SUPERVISOR .

Training Records
0009
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-FTO MODULE PERFORMANCE CHECKLIST

Chapter
Modular Title: ROVER

Trainee_{_. Nex CS crpttees
FTO Coe Sse op OG
¢

Performance Objective: Following demonstration by the
designated Field Trainer, the trainee will: Provide escorts
of inmates, visitors, contractors, and staff to areas of the
facility. At all times display safety and security
techniques, respond to emergency requests, and assigned
details. ,

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(Proficiency Test Completed)

1) Report to the de-briefing area at the beginning of the shift to sign in
the post orders book, after having read them.

3)Receive briefing from the offgoing and oncoming rover and S-1.

3) Receive and carry out any and all tasks assigned from the S-1.

| 4) Assist all officers in need of help in any area(s) such as retrieving
copies of forms, paperwork, and when possible relief from post.

5) Properly escort mates to and from the blocks, medical, church,
C.LD., attomey visits, etc.. At all times be security minded.

6) Properly initiate and conduct a proper classification move from B/F
to the blocks. At all times maintaining security and order - no talking.

7) Properly check and verify that no inmates are together that are
prohibited to be, by using the no contact book in de-briefing.

8) Dernonstrate proper procedure for moving inmates from one area to
another:include properly demonstrating proper handcuffing/shackling.

9) Keep central control aware of moves and when they are
completed. If opposite sex are being moved, have central monitor.

10) While in hallways check ail doors fo make sure they are secured.

11) While in hallways check ail areas for cleanliness, water spills, ”
food trays, garbage, biue boats, and any other items to be stored.

12) Upon completion of your shift, properly brief the offgoing 3-1,
the oncoming S-1, and the oncoming rover.

1 certify that proficiency was demonstrated by the above

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Training Records
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Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 13 of 43
HARRISG.W COUNTY SHERIFF’S DEPAxu. [MENT

Corrections Division
Daily Observation Report
E.T.O. J. Gregory #289 Page 1 of 1 2/18/2005
Trainee: Deputy Jackson #225
Narrative: Give a brief description of training conducted today and outcome.

ROVER

- Officer Jackson was assigned as Rover. Officer Jackson read and signed the Post Orders.
Officer Jackson is assist any Officer requesting copies or in need of any other assistance and
when possible, relief from post. FTO Gregory reminded Officer Jackson on day shift we were to
turn the block phones on and then log what time the phones came on in the access log. FTO
Gregory observed Officer Jackson escorting inmates from their block to court, Medical, etc. and
the proper use of restraints (i.e. daisy chain — cuff al! inmates left-hand to chain prior to exiting
block, cuff.and shackle all B-Block inmates) properly. Officer Jackson making the correct
security rounds, checking all doors to ensure they are secured, strip-searching any Inmates
wondering around the facility unescorted and reports any discrepancies to the Shift Supervisor.
Officer Jackson conducts Rover duties in a timely manner. Officer Jackson stays busy the entire
shitt and alls giving a hand to help others. Officer Jackson is improving the amount of perimeter
checks that he conducts. Officer Jackson needs te improve on finding misplaced Inmates on the
caurt list due to ceil changes not being done on a regular basis by looking at the Inmate at hands
charges and determine the proper location: End of report.

£ © Char LEO MK 5 apo

rainee’s Signature / Badge #/ Date . [LEPC

Training Records
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SHIFT TRAINING

ACA STANDARDS

Onf-/5-O5_ ,l_ Lieve Te ALR SOS A received a 15-Minute
Block Training On; Policy and Procedure Use of Force, During The 0645-1500 Hour
Shift Briefing.

ivy DB
DEPUTY SIGNATURE AND BADGE NUMBER

Set. K. Rogers #161
Supervisor / Instructor

‘Sgt. E. Thomas #160
Supervisor / Instructor

- Training Records ©
0012
Case 1:06-cv-01006-LG-JMR Documenti10-11 Filed 07/07/08 Page 15 of 43

SHIFT TRAINING

ACA STANDARDS

Ff 1 ~

On o2-/4-2F 41 hee TAK. ‘Sonl received a 15-Minute
Block Trainmg On; ACA STANDARDS; Drug Free Work Place, During The 0645-
1500 Hour Shift Briefing. ,

Sgt. K. Rogers #161
Supervisor / Instructor _

Sat. E. Collins #153 . :
Supervisor / Instructor -

~ Training Records
0013
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SHIFT TRAINING

ACA STANDARDS

On 02-13-05 I L Ze, « Accson received a 15-Minute
Block Training ‘On: ACA STANDARDS; Inmate Grievance, During The 0645-1500

Hour Shift Briefing.

EPUTY SIGNATURE AND BADGE NUMBER

Aa Bbc as

Sat. E. Thomas #160
Supervisor / Instructor

Set. E. Collins #153
Supervisor / Instructor

T raining Records
0074
Case 1:06-cv-01006-LG-JMR Document 110-11 Filed 07/07/08 Page 17 of 43

SHIFT TRAINING

ACA STANDARDS

On 94-42-25 il Lee ‘ Ack son received a 15-Muinute
Block Training On; ACA STANDARDS; Access to Media, During The 0645-1500 Hour
Shift Briefing.

DEPUTY SIGNATURE AND BADGE NUMBER

Set. E. Thomas #160
Supervisor / Instructor

Sat. E. Collins #153
Supervisor / Instructor

“Training Records °
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- SHIFT TRAINING

ACA STANDARDS

~

On ¢-/7 -O8 ,I Lee IJAc KsonN received a 15-Minute
Block Training On; ACA STANDARDS; Security Shift Briefings and Shift Duty
Hours, During The 0645-1500 Hour Shift Briefing.

of. Kili? _— 225

“" DEPUTY SIGNATURE AND BADGE NUMBER

Sgt. E. Thomas #160
Supervisor / Instructor

Set. E. Collis #153 ;
Supervisor / Instructor :

Training Records
0016
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SHIFT TRAINING
POLICY AND PROCEDURES
ON, 01-24-05 1 hee. SAcHEoN RECEIVED a2 [5-MINUTE BLOCK

TRAINING ON POLICY AND PROCEDURES; Legal Resources DURING THE 0645-1500 HOUR
SHIFTS BRIEFING.

how halt eas

— ®epuTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #160
SGT-EDDIE COLLINS #153

SGT. KENNETH ROGERS #161

Training Records .
~ 0017
‘Case 1:06-cv-01006-LG-JMR Document 110-11 Filed 07/07/08 Page 20 of 43

SHIFT TRAINING

. oe

On February 8,20051_ Lec Tae pescoul received a 15-Minute
Block Training On A Infer-Office Memo Ref: Security Equipment During The:0700-
1500 Hour Shift Briefing.

*

ZL Loses, 225
DEPUTY SIGNATURE AND BADGE NUMBER

.

Sgt. Eddie Collins #153
Supervisor / Instructor ’

Sgt. Kenny Rogers #161
Supervisor / Instructor

Set. Earnest Thomas #160

Supervisor /instructor

Training Records
0018
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Mem : RB pt
Date: 09. OF~ 04
f
. r ~
I hee. We Ksod received a Suicide Prevention Card. ,

(Print Name)

Officers Signature: Siz De Newel _ Badge #_ 425
: * ‘Training Records
0019
- Case 1:06-cv-01006-LG-JMR - Document 110-11 Filed 07/07/08 Page 22 of 43

SHIFT TRAINING

On February 7,20051.. Lee JAc. Son received a 15-Minute
Block Training On A Inter-Office Memo Ref: Special Needs Inmates During The 0700-

1500 Hour Shift Briefing.

poe Ie 22S
DEPUTY SIGNATURE AND BADGE NUMBER

Sgt. Eddie Collins #153
Supervisor / Instructor

Sgt. Kenny Rogers #161
Supervisor / Instructor

' Sgt. Earnest Thomas #160

_ Supervisor Ainstructor

Training Records .
0020
Case 1:06-cv-01006-LG-JMR Documenti10-11 Filed 07/07/08 Page 23 of 43

SHIFT TRAINING
ACA STANDARDS
On 2- of- 05 aL Lee. . TtekSon received a 15-Minute

Block Training On; ACA STANDARDS; COMPREHENSIVE EDUCATION
PROGRAM, During The 0645-1500 Hour Shift Briefing.

ho hile

_ DEPUTY SIGNATURE AND BADGE NUMBER

Set. E. Thomas #160
Supervisor / Instructor

Set. K. Rogers #161
Supervisor / Instructor

Set. E. Collins #153
Supervisor / Instructor

Training Records
0021
. Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 24 of 43

SHIFT TRAINING

On 7-4- OF _.1 Lone SACKS A received a 15-
Minute Block Training On legal Assistance During The 0645-1500 Hour Shift Briefing.

MIP.

DEPUTY SIGNATURE AND BADGE NUMBER

Set. K. Rogers #1161.
Supervisor / Instructor

«Sgt. E. Thomas #160
Supervisor / Instructor

Sgt. E. Collins #153
Supervisor / Instructor

- Training Records
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~ Ease 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 25 of 43 ©

SHIFT TRAINING

POLICY AND PROCEDURES

N, £73 OG, 1 SACKSoN -" RECEIVED a 15-MINUTE BLOCK
PRINT NAME ,
TRAINING ON ACA Standards; Correctional Officer Assignménts DURING THE 9645-1500 HOUR ~

SHIFTS BRIEFING.

L hea Les

hi SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
. SGT. EARNEST THOMAS #160

SGT.EDDIE COLLINS #153

SGT. KENNETH ROGERS #161

Training Records
0023
Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 26 of 43

SHIFT TRAINING

POLICY AND PROCEDURES
ON {-2F05,1_fee JALKEON RECEIVED a 15-MINUTE BLOCK

TRAINING ON Policy and Procedures; Inmate Uniform and Hygiene Issuance DURING THE 0645-
1500 HOUR SHIFTS BRIEFING.

be Shien 226

“DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
_ SGT. EARNEST THOMAS #160

SGT.EDDIE COLLINS #153

SGT. KENNETH ROGERS #161

Training Records
0024
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SHIFT TRAINING
POLICY AND PROCEDURES
ON, 01-30-05, 1_Lee- Tred sall __¢_ RECEIVED a 15-MINUTE BLOCK

~

TRAINING ON ACA Standards; Inmate Grievatice DURING THE 0645-1500 HOUR SHIFTS
BRIEFING. .

thee oll 222

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
’ SGT. EARNEST THOMAS #160

SGT.EDDIE COLLINS #153

SGT. KENNETH ROGERS #161

Training Records
0025
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SHIFT TRAINING

POLICY AND PROCEDURES
ON, 2-08 1 Lee. Tacksol RECEIVED a 15-MINUTE BLOCK

TRAINING ON ACA Standards; Central Control DURING THE 0645-1500 HOUR SHIFTS
BRIEFING.

Ab Glton 22.5

EPUTY SIGNATURE AND BADGE NUMBER .

- SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #160
SGT.EDDIE COLLINS #153 °
SGT. KENNETH ROGERS #161 |

Training Records
0026
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SHIFT TRAINING

POLICY AND PROCEDURES
Na a5 oI_Ahee Sac Ksad RECEIVED a 1S-MINUTE BLOCK

TRAINING ON ACA STANDARDS; HOUSEKEEPING; DURING THE 0645-1500 HOUR SHIFTS
BRIEFING.

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* DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #160

- .SGT.EDDIE COLLINS #153.

' SGT. KENNETH ROGERS #161

Training Records
0027
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SHIFT TRAINING
POLICY AND PROCEDURES
ON, 01-23-05, I Z ee Sacks of - RECEIVED a 15-MINUTE BLOCK

TRAINING ON POLICY AND PROCEDURES; Inspections and investigation; DURING THE
0645-1500 HOUR SHIFTS BRIEFING.

DEPUTY SIGNATURE AND BADGE NUMBER,

SHIFT SUPERVISORS/ INSTRUCTOR
SGT. EARNEST THOMAS #160

’ SGT.EDDIE COLLINS #153

SGT. KENNETH ROGERS #161

Training Records
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~~ "Case 1:06-cv-O1006-LG-JMR Document 110-11 Filed 07/07/08 Page 31 of 43

cout os ze ep ee ane rage ae sates ob meer eset

‘Memorandum Receipt

Date: /-2%- a5

' kh, 22 Tackson received a copy of the memo generated by
(Print Name)

-aptain Taylor's Office titled Inmate Armbands dated January 17, 2005.

' }ficers Signature: Ah. dualleon _.  Badge# 925

‘

Training Records
0029
~ Case 1:06-cv-01006-LG-JMR Document110-11 . Filed 07/07/08 Page 32 of 43
HARRISUN COUNTY SHERIFF’S DEPARTMENT

Corrections Division
Daily Observation Report
E.T.O. J. Gregory #289 Page 1 of I 2/12/2005
Trainee: Deputy Jackson #225
Narrative: Give a brief description of training conducted today and outcome.

ROVER

Officer Jackson was assigned as Rover. Officer Jackson read and signed the Post Orders.
FTO Gregory explained that the Rover will assist any Officer requesting copies or in need of any
other assistance and when possible, relief from post. FTO Gregory informed Officer Jackson on
day shift we were to turn the block phones on and then log what time the phones came on in the
access log. Officer Jackson was shown the proper way to escort inmates from their block to
church, court, Medical, etc. and the proper use of restraints (i.e. daisy chain -- cuff all Inmates left
hand to chain prior to exiting block, cuff and shackle all B-Block inmates) was discussed.
Ofticer Jackson was shown how to properly check and verify that no inmates on the “NO
CONTACT" list are to leave the block together at any time. It was stressed that when escorting
inmates, notify Central Control to monitor the movement, especially when inmates of the
opposite sex are being moved. Officer Jackson was reminded that Safety, Security, and
Sanitation is every Officers responsibility and as Rover especially. Officer Jackson was
instructed that while making security rounds, check all doors to ensure they are secured, question
then strip search any Inmates wondering around the facility. unescorted and report any
discrepancies to the Shift Supervisor. Officer Jackson was unable to “actually” perform a
Classification Move not being on third shift. It was explained that names should be double-
checked and I.D. bands verified (if they were issued) prior to making any move. Officer Jackson
~ was advised that any orders or tasks received from the Shift Supervisor are also to be carried out.

Officer Jackson conducts Rover duties in a timely manner. Officer Jackson just needs to make

_time available for more perimeter checks. End of report.

228. B-(2-O8 oe, _ Ze

rainee’s 5 ignature / Badge # / Date F.T.O2sSidnatwee— . ,
Training Records

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SHIFT TRAINING

POLICY AND PROCEDURES
ON, J2eroG) Lee Jacke) _____ RECEIVED a 15-MINUTE BLOCK

TRAINING ON POLICY AND PROCEDURES; CHAIN OF COMMAND; DURING THE 0645-1500
HOUR SHIFTS BRIEFING.

fa Gollan __ pas

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #160

- SGT.EDDIE COLLINS #153
SGT. KENNETH ROGERS #161

Training Records
“0031
Case 1:06-cv-01006-LG-JMR Document110-11 Filed07/07/08 Page 34 of 43

. SHIFT TRAINING
POLICY AND PROCEDURES
ON, f= W051 _£ ee 2 Jacks RECEIVED a 15-MINUTE BLOCK

TRAINING ON ACA STANDARDS; Social Service & Substance Abuse Education Program DURING
THE 0645-1500 HOUR SHIFTS BRIEFING.

Le bln we

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
-. SGT. EARNEST THOMAS #285
Set Collins #153

. Training Records
0032
~““Case 1:06-cv-01006-LG-JMR Document110-11 Filed 07/07/08 Page 35 of 43

POLICY AND PROCEDURES

ON, G1-18-05, 1 i fe. . le Hs oxvl RECEIVED a 15-MINUTE BLOCK
PRINT NAME

TRAINING ON ACA STANDARDS; Farce Cell Moves DURING THE 0645-1500 HOUR SHIFTS
SRIEFING.

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
iGT. EARNEST THOMAS #285
“ut Collins #153

Training Records
0033
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SHIFT TRAINING
POLICY AND PROCEDURES
ON, 01-17-05, I hoods pers Loc fosou RECEIVED a 15-MINUTE BLOCK
~ PRINT NAME
“YRAINING ON ACA STANDARDS; Drug free work Place DURING THE 0645-1500 HOUR SHIFTS”

? ARTEFING.

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #285
“Sgt Collins #153 .

Training Records
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POLICY AND PROCEDURES
ON. 01-16-05, I Low . Tae dbod RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON ACA STANDARDS, Custody Inquiries; DURING THE 0645-1500 HOUR SHIFTS

BRIEFING.

Blin 225

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #285
~ Sat Collins #153

Training Records
0035
Case 1:06-cv-01006-LG-JMR Document 110-11 Filed07/07/08 Page 38of43.

SHIFT TRAINING”

POLICY AND PROCEDURES
On, 01-15-05,1 Lees TAcKSod RECEIVED a 15-MINUTE BLOCK
‘ PRINT NAME

TRAINING ON ACA STANDARDS; POSITION CONTROL AND MANAGEMENT, PAYROLL
VERIFICATION; DURING THE 0645-1500 HOUR SHIFTS BRIEFING-

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“DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT, EARNEST THOMAS #285
Sgt Calling #153

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POLICY AND PROCEDURES

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TRAINING ON POLICY AND PROCEDURES; ACA Legal Assistance; DURING THE 0645-1500
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SHIFT SUPERVISORSANSTRUCTOR
SGT, EARNEST THOMAS #285
Sgt Collins #153

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SHIFT TRAINING

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TRAINING ON POLICY AND PROCEDURES; Hearing impaired inmates; DURING THE 0645-1500
HOUR SHIFTS BRIEFING.

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DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
- SGT. EARNEST THOMAS #285
Sgt Rogers #161

Training Records
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SHIFTS BRIEFING.

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SHIFT SUPERVISORS/INSTRUCTOR
- SGT. EARNEST THOMAS #285
Sgt Rogers #161

Training Records
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POLICY AND PROCEDURES

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TRAINING ON POLICY AND PROCEDURES; Communication: Internal & External; DURING THE
0645-1500 HOUR SHIFTS BRIEFING.

SHIFT SUPERVISORS/INSTRUCTOR
SGT. EARNEST THOMAS #285

Training Records
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